      Case 1:24-cv-05346-MHC      Document 12     Filed 03/31/25   Page 1 of 20




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


    SIMON GUOBADIA,

        Plaintiff,
                                               CIVIL ACTION FILE
 v.
                                               NO. 1:24-CV-5346-MHC
    PORSHA WILLIAMS,

        Defendant.

                                      ORDER

       This case comes before the Court on Defendant Porsha Williams's Motion to

Dismiss Plaintiffs First Amended Complaint ("Mot. to Dismiss") [Doc. 9].

I.     BACKGROUND 1

       Plaintiff is an entrepreneur and philanthropist who currently resides in the

United Arab Emirates, and is the founder and CEO of SIMCOL Group, an

investment company involved in various industries, including energy and



1
  Because this case is before the Court, in part, on Defendant's Motion to Dismiss,
the facts are presented as alleged in Plaintiff Simon Guobadia's First Amended
Complaint ("Am. Comp!.") [Doc. 7]. See Silberman v. Miami Dade Transit, 927
F.3d 1123, 1128 (11th Cir. 2019) (citation omitted). The Complaint [Doc. 1] was
amended on January 31, 2025, and the Amended Complaint is the operative
complaint in this case.
     Case 1:24-cv-05346-MHC      Document 12     Filed 03/31/25   Page 2 of 20




hospitality. Am. Comp!. ,r,r 5-6. Defendant is a public figure and television

personality who resides in Fulton County, Georgia. Id. ,r 7. Defendant is known

for her role on the Real Housewives of Atlanta ("RHOA") 2 and large social media

presence, which includes 7.7 million followers on Instagram. Id. ,r,r 7-8.

      Plaintiff and Defendant were married on November 26, 2022, in a widely

publicized ceremony. Id. ,r 11. In February 2024, "news broke" that Plaintiff and

Defendant "were splitting," an announcement that came after news that Defendant

would return to RHOA. Id. ,r 12. On or about July 9, 2024, Defendant published a

series of statements about erectile dysfunction ("ED") on her Instagram account.

Id. ,r 14. The first statement was a black background with "ED" written in bold

white letters. Id. Defendant's posts continued and provided definitions of ED and

details about its symptoms and treatments, including statements such as, "ED can

cause stress, affect self-confidence, and contribute to relationship problems," and

"it is common for men with ED to feel anger, frustration, sadness, or lack

confidence." Id. ,r,r 15-16. These statements included the hashtag

#MensHealthAwareness. Id. ,r 18.




2
  According to the First Amended Complaint, RHOA is the most popular program
in the Real Housewives Franchise on Bravo, a cable television network that is
available to approximately 70,000,000 households. Id. ,r 12.

                                          2
     Case 1:24-cv-05346-MHC        Document 12      Filed 03/31/25    Page 3 of 20




       Defendant's statements were disseminated to a large audience via her

Instagram account. Id. ,i 21. They were also disseminated via multiple media

outlets:

       •     All About the Tea: On July 10, 2024, this celebrity gossip website
             posted an article titled "Porsha Williams Claims Simon Guobadia
             Suffers from Erectile Dysfunction!" and referencing Defendant's
             social media posts. Id. ,i 23. Plaintiff alleges that the article
             "highlighted that members of the public clearly recognized the
             Defendant's comments as referring to the Plaintiff," including citing
             to numerous social media user posts reflecting this interpretation. Id.
             ii 24.

       •     RHO Cafe: This online source published a story titled "RHOA's
             Porsha Williams Throws Shade at Ex Simon Guobadia With 'ED'
             Posts." Id. ,i 25. Plaintiff alleges that this article also "highlighted that
             Defendant's posts were interpreted as an insinuation that Plaintiff
             suffers from ED." Id. This article also included Defendant's social
             media posts as presented on the Instagram page "The Neighborhood
             Talk." Id. iii! 25-26.

      •      The Neighborhood Talk: This Instagrarn page reports on celebrity
             news and gossip and has over 1.9 million followers. Id. ,i 27. The
             page included photos of Plaintiff and Defendant superimposed over
             Defendant's posts, which Plaintiff alleges left "no doubt that the
             public at large considered the Defendants' comments about ED to be
             specifically referencing [Plaintiff]." Id. ,i 27.

      •     The Jasmine Brand: On July 10, 2024, this entertainment website and
            social media platform with over 831,000 Instagrarn followers, covered
            Defendant's social media posts in an article titled "Porsha Williams'
            Estranged Husband Simon Guobadia Threatens Legal Action After
            Reality Star Seemingly Claims He Has Erectile Dysfunction." Id. ,i,i
            29-30.



                                           3
       Case 1:24-cv-05346-MHC      Document 12     Filed 03/31/25   Page 4 of 20




        Plaintiff alleges that he does not have ED and has never suffered from or

been diagnosed with this condition. Id. 133. Plaintiff alleges that the inclusion of

"#MensHealthAwareness appeared to give the posts the tone of health awareness,

though the timing and context made it clear they were directed at Plaintiff." Id.

1 18. Plaintiff further alleges the following:

       The nature, timing, and context of these posts, amidst the couple's
       public separation, led reasonable viewers to infer that Defendant's
       statements were referring to Plaintiff - because they were.

       Importantly, Defendant's statements were not made as expressions of
       opinion but instead presented as factual assertions regarding Plaintiffs
       health, stating or strongly implying that Plaintiff suffers from ED.

Id. 11 19-20. Additionally, Plaintiff alleges that, as his former spouse, Defendant's

statements were perceived by the public as having legitimacy and insider

knowledge such that the public would be more likely to believe they were true. Id.

132.

       As a result of Defendant's statements, Plaintiff alleges that his "credibility

and image within his community and professional networks" has been affected. Id.

1 37. Plaintiff also "endured significant emotional distress and personal anguish"

and has suffered reputational harm, including the loss of business relationships. Id.

1138, 71. Plaintiffs personal and professional relationships have pulled away

from associating with Plaintiff. Id. 1 52. Plaintiff alleges that, because


                                           4
      Case 1:24-cv-05346-MHC        Document 12      Filed 03/31/25   Page 5 of 20




Defendant's statements were disseminated widely across the internet, her

statements associating Plaintiff with the symptoms of ED remain publicly available

indefinitely, making it "nearly impossible" for Plaintiff or his business to maintain

a positive reputation online. Id. ,r,r 46-49. Further, whenever Plaintiff posts on his

own social media page or is referenced in a publication, commenters frequently

reference Defendant's statements; Plaintiff alleges that Defendant "clearly

intended" this online ridicule of Plaintiff. Id. ,r 67.

       Based on the foregoing, Plaintiff brings the following claims against

Defendant: (1) defamation; (2) defamation per se; (3) intentional infliction of

emotional distress; (4) invasion of privacy-false light. Id. ,r,r 39-80. Plaintiff

seeks compensatory and punitive damages, and attorney's costs and fees. Id.,

Prayer for Relief.

II.   LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

"short and plain statement of the claim showing that the pleader is entitled to

relief." Under Federal Rule of Civil Procedure 12(6)(6), a claim will be dismissed

for failure to state a claim upon which relief can be granted if it does not plead

"enough facts to state a claim to relief that is plausible on its face." Bell Atl. Corp.




                                            5
     Case 1:24-cv-05346-MHC       Document 12     Filed 03/31/25   Page 6 of 20




v. Twombly. 550 U.S. 544, 570 (2007). The Supreme Court has explained this

standard as follows:

      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the defendant
      is liable for the misconduct alleged. The plausibility standard is not
      akin to a "probability requirement," but it asks for more than a sheer
      possibility that a defendant has acted unlawfully.

Ashcroft v. Igbal, 556 U.S. 662, 678 (2009) (internal citation omitted). Thus, a

claim will survive a motion to dismiss only if the factual allegations in the pleading

are "enough to raise a right to relief above the speculative level." Twombly. 550

U.S. at 555.

      At the motion to dismiss stage, the court accepts all well-pleaded facts in the

plaintiffs complaint as true, as well as all reasonable inferences drawn from those

facts. McGinley v. Houston, 361 F.3d 1328, 1330 (11th Cir. 2004); Lotierzo v.

Woman's World Med. Ctr., Inc., 278 F.3d 1180, 1182 (11th Cir. 2002). Not only

must the court accept the well-pleaded allegations as true, but these allegations

must also be construed in the light most favorable to the pleader. Powell v.

Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011). However, the court need not

accept legal conclusions, nor must it accept as true legal conclusions couched as

factual allegations. Igbal, 556 U.S. at 678. Thus, evaluation of a motion to dismiss




                                          6
        Case 1:24-cv-05346-MHC     Document 12      Filed 03/31/25   Page 7 of 20




requires the court to assume the veracity of well-pleaded factual allegations and

"determine whether they plausibly give rise to an entitlement to relief." Id. at 679.

III.    DISCUSSION

        A.    Defamation and Defamation Per Se (Counts I and 11)

        Georgia law defines libel as the "false and malicious defamation of another,

expressed in print, writing, pictures, or signs, tending to injure the reputation of the

person and exposing him to public hatred, contempt, or ridicule." O.C.G.A.

§ 51-5-1; see also Boley v. A-1 Horton's Moving Serv., Inc., 373 Ga. App. 574,

578 (2024), recons. denied (Nov. 7, 2024), cert. denied (Feb. 18, 2025) ("Because

libel or slander are types of defamatory statements, libel and slander are considered

under the same umbrella as defamation."). A cause of action for defamation

includes the following elements: "(1) a false and defamatory statement concerning

the plaintiff; (2) an unprivileged communication to a third party; (3) fault by the

defendant amounting at least to negligence; and (4) special harm or the

actionability of the statement irrespective of special harm." Smith v. Stewart, 291

Ga. App. 86, 91-92 (2008) (quoting Mathis v. Cannon, 276 Ga. 16, 20-21 (2002)).

        A complaint for defamation can allege defamation per se or defamation per

quod.

        "Libel per se consists of a charge that one is guilty of a crime,
        dishonesty or immorality." Barber v. Perdue. 194 Ga. App. 287, 288

                                           7
     Case 1:24-cv-05346-MHC       Document 12      Filed 03/31/25   Page 8 of 20




      (1989). Statements that tend to injure one in his trade or business also
      are libelous per se. See Southern Co. v. Hamburg. 220 Ga. App. 834,
      840 (1996). When determining whether words are defamatory as a
      matter oflaw, courts may not hunt for strained constructions, see Willis
      v. United Family Life Ins., 226 Ga. App. 661, 662 (1997), and must
      rely upon the words themselves in considering whether a statement was
      defamatory per se. See Mathews v. Atlanta Newspapers, 116 Ga. App.
      337, 339 (1967); Barber. supra. "Defamatory words which are
      actionable per se are those which are recognized as injurious on their
      face-without the aid of extrinsic proof. However, if the defamatory
      character of the words [does] not appear on their face but only become
      defamatory by the aid of extrinsic facts, they are not defamatory per se,
      but per quod, and are said to require innuendo. [Cit.]" Macon
      [Telegraph Pub. Co. v. Elliott, 165 Ga. App. 719], 723, [(1983)].

Zarach v. Atlanta Claims Ass'n, 231 Ga. App. 685, 688 (1998) (parallel citations

omitted). "Unlike in an action for libel per quod, in an action for libel per se,

'special damages need not be proved because damage is inferred."' Stewart, 291

Ga. App. At 96 (quoting Bellemeade, LLC v. Stoker, 280 Ga. 635, 637 (2006)).

To state a claim for defamation per quod, the plaintiff must plead special damage

in the form of"actual pecuniary loss." F.A.A. v. Cooper, 566 U.S. 284, 295-96

(2012).

             1.     Whether Plaintiff's Defamation Claims are Actionable Even
                    Though the Alleged Defamatory Statements Do Not
                    Mention Plaintiff's Name

      First, Defendant argues that both of Plaintiffs defamation claims should be

dismissed because the alleged defamatory statements "are not of and concerning

Plaintiff in Any Way, Shape or Form." Mem. of Law in Supp. ofDef.'s Mot. to

                                           8
      Case 1:24-cv-05346-MHC       Document 12      Filed 03/31/25    Page 9 of 20




Dismiss ("Def.'s Br.") [Doc. 9-1] at 8. In response, Plaintiff argues that a false

statement need not directly mention the plaintiff to be actionable, and that the

context of the statements and their widespread media coverage demonstrate that

the statements were reasonably "understood as referring to [Plaintiff]." Mem. of

Law in Opp'n to Mot. to Dismiss ("Pl.'s Opp'n") [Doc. 10] at 4-5, 10 (quoting

Restatement (Second) of Torts § 564).

      Regarding the first element of a defamation claim, that is, whether the
      publication could be found to be a false and defamatory statement
      concerning the plaintiff, the allegedly defamatory words must refer to
      some ascertained or ascertainable person, and that person must be the
      plaintiff. Stated differently, the plaintiff has the burden of showing,
      inter alia, that the publication was about the plaintiff, that is, whether it
      was of and concerning her as a matter of identity.

Stewart, 291 Ga. App. at 92 (internal quotations and citations omitted).

      Where the words of the alleged libelous matter are so vague and
      uncertain that they could not have been intended to refer to any
      particular person, or the published words are incapable of any other
      construction other than that they are not defamatory of the plaintiff, the
      petition is subject to dismissal. A publication claimed to be defamatory
      must be read and construed in the sense in which the readers to whom
      it is addressed would ordinarily understand it. . . . When thus read, if
      its meaning is so unambiguous as to reasonably bear but one
      interpretation, it is for the judge to say whether that signification is
      defamatory or not. If upon the other hand, it is capable of two
      meanings, one of which would be libelous and actionable and the other
      not, it is for the jury to say, under all the circumstances surrounding its
      publication, including extraneous facts admissible in evidence, which
      of the two meanings would be attributed to it by those to whom it is
      addressed or by whom it may be read.


                                            9
     Case 1:24-cv-05346-MHC       Document 12      Filed 03/31/25   Page 10 of 20




Fiske v. Stockton, 171 Ga. App. 601, 602 (1984), overruled on other grounds by

Oskouei v. Matthews, No. S24G0335, 2025 WL 515811 (Ga. Feb. 18, 2025)

(alterations accepted and internal quotations and citations omitted).

      Defendant's argument that her statements cannot as a matter of law be

defamatory because they did not specifically mention Plaintiffs name is without

merit. See Southland Pub. Co. v. Sewell, 111 Ga. App. 803, 807 (1965) (quotation

omitted) ("[T]he rule is that a publication must be construed in the light of all the

attending circumstances, the cause and occasion of the publication, and all other

extraneous matters which will tend to explain the allusion or point out the person

in question."). Plaintiff alleges that Defendant's statements could be interpreted as

concerning Plaintiff because they were made after Plaintiff and Defendant

announced their separation, and because Defendant's status as his ex-wife gave the

statements an air of legitimacy and insider knowledge. Am. Comp!. ,r,r 19-20, 32.

Further, Plaintiff alleges that multiple media outlets interpreted Defendant's

statements as referring to Plaintiff. Id. ,r,r 23-30, 67. "[T]he language under

consideration here was at the very least reasonably susceptible of a construction by

the average reader which would render it libelous . . . it cannot be said as a matter

of law that the alleged libel was not of and concerning [P]laintiff." Sewell, 111

Ga. App. at 808. Accordingly, the Court finds that Plaintiff sufficiently alleges


                                          10
     Case 1:24-cv-05346-MHC        Document 12     Filed 03/31/25    Page 11 of 20




that Defendant's defamatory statements concerned Plaintiff, and Defendant's

Motion to Dismiss on the ground that the statements did not mention Plaintiffs

name is DENIED.

             2.     Whether Defendant's Statements Constitute Defamation
                    Per Se

       Second, Defendant argues that Plaintiffs defamation per se count should be

dismissed because Defendant's statements did not mention Plaintiff and did not

"charge Plaintiff with any crime, dishonesty, or immorality" and therefore are not

injurious on their face. Def.'s Br. at 9-10. In response, Plaintiff argues that "false

allegations regarding an individual's sexual health" and "harming a person's

reputation in their trade" fall into the type of allegations that courts have

recognized as defamation per se. Pl.'s Opp'n at 6-7.

      O.C.G.A. § 51-5-4(a) defines the following types of statements as slander:

      (1) Imputing to another a crime punishable by law;

      (2) Charging a person with having some contagious disorder or with
      being guilty of some debasing act which may exclude him from society;

      (3) Making charges against another in reference to his trade, office, or
      profession, calculated to injure him therein; or

      (4) Uttering any disparaging words productive of special damage which
      flows naturally therefrom.




                                           11
     Case 1:24-cv-05346-MHC       Document 12      Filed 03/31/25   Page 12 of 20




O.C.G.A. § 51-5-4(a); see also Lucas v. Cranshaw, 289 Ga. App. 510,515 (2008)

(noting that O.C.G.A. § 51-5-4(a)(l)-(3) provides the categories of statements

which are slander per se ). "Although O.C.G.A. § 51-5-4 refers to slander and not

libel, the definition of slander in Georgia has been incorporated into the definition

of libel. Therefore, that which is slander per se can also become libel per se under

the aegis ofO.C.G.A. § 51-5-4." Lucas, 289 Ga. App. at 515 (internal quotations

and citations omitted and alterations accepted).

      To be slander per se, the words are those which are recognized as
      injurious on their face-without the aid of extrinsic proof. Should
      extrinsic facts be necessary to establish the defamatory character of the
      words, the words may constitute slander, but they do not constitute
      slander per se. Thus, the court may not hunt for a strained construction
      in order to hold the words used as being defamatory as a matter of law,
      and the negative inference a hearer might take from the words does not
      subject the speaker to liability for slander per se.

Cottrell v. Smith, 299 Ga. 517,523 (2016) (quoting Bellemeade, 280 Ga. at

637-38).

      The Court finds that Defendant's statements were not injurious on their face

and, therefore, cannot form the basis for Plaintiffs defamation per se claim.

Defendant's statements, taken literally, only included objective health information

about ED. Am. Comp!. ,i,i 15-18. Plaintiff concedes as much when he alleges that

the statements "appeared to give the tone of health awareness, though the timing

and context made it clear that they were directed at Plaintiff." Id. ,i 18. Taking the

                                          12
     Case 1:24-cv-05346-MHC       Document 12     Filed 03/31/25   Page 13 of 20




statements on their face without any additional knowledge of Plaintiff, Defendant,

or the dissolution of their marriage, the statements could not be interpreted as

anything other than general information about ED. Therefore, the statements

require inuendo to be interpreted as defamatory. See Dougherty v. Harvey. 317 F.

Supp. 3d 1287, 1292 (N.D. Ga. 2018) ("[T]he statement ... required either

additional facts or inferences to make plain that something injurious was said.

That is the classic form of innuendo in a defamation case: additional explanation or

interpretation is needed to tum what appears to be an anodyne statement into a

defamatory one.").

      Further, Defendant's statements do not fall into the categories of defamation

per se enumerated in O.C.G.A. § 51-5-4(a)(l)-(3). The text of those portions of the

statute that are relevant to the instant case are: "(2) Charging a person with having

some contagious disorder or with being guilty of some debasing act which may

exclude him from society; [or] (3) Making charges against another in reference to

his trade, office, or profession, calculated to injure him therein." O.C.G.A. § 51-5-

4(a)(2)-(3). The plain language of§ 51-5-4(a)(2) does not include ED, which is

neither a contagious disorder nor a debasing act. 3 Defendant's statements also do


3
 The Court could not locate Martin v. Outlaw, 186 Ga. App. 292 (1988), the sole
case Plaintiff cited to support his argument that false allegations regarding sexual
health fit into this category. See Pl.'s Opp'n at 6. The citation that appears in

                                          13
     Case 1:24-cv-05346-MHC       Document 12      Filed 03/31/25   Page 14 of 20




not fall under the plain language of§ 51-5-4(a)(3) because they do not reference

Plaintiffs profession. 4 Therefore, Plaintiff does not sufficiently allege that

Defendant's statements constituted defamation per se, and Defendant's Motion to

Dismiss is GRANTED as to Count II.

             3.     Whether Plaintiff Alleges the Special Damages Required for
                    Defamation Per Quod

      Third, Defendant argues that Plaintiffs claim for defamation per quod

should be dismissed because he does not allege special damages flowing from

Defendant's statements. Def.'s Br. at 12. Specifically, Defendant argues that

Plaintiff only alleges "ongoing psychological and reputational harm, including

business relationships being severed due to the public scandal." Id. In response,

Plaintiff argues that "the Complaint alleges concrete injuries resulting from

Defendant's false statements: diminished business opportunities, reputational




Plaintiffs brief is to a page in a different case which involves a juvenile
delinquent, In the Interest ofG.C.S., 186 Ga. App. 291 (1988), and the Court could
not find a Georgia case with the two party names referenced by Plaintiff. It is, of
course, disturbing that Plaintiff may have cited a case that does not exist.
4
  The sole case Plaintiff cites to support his argument that Defendant's statements
reference his profession, Mathis, Pl.'s Opp'n at 7, is inapposite because, unlike this
case, it involved statements that explicitly referenced the defendant's profession.
See Mathis, 276 Ga. at 20.


                                          14
     Case 1:24-cv-05346-MHC      Document 12      Filed 03/31/25   Page 15 of 20




harm, and mental anguish severe enough to interfere with Plaintiffs personal and

professional relationships." PL 's Opp'n at 9.

      In tort actions in Georgia, "[d]amages may be either general or special,
      direct or consequential." O.C.G.A. § 51-12-1. "General damages are
      those which the law presumes to flow from any tortious act" and which
      do not require proof; while"[ s]pecial damages are those which actually
      flow from a tortious act" and which must be proved to be recovered.
      O.C.G.A. § 51-12-2.

Zedan v. Bailey. 522 F. Supp. 3d 1363, 1373 (M.D. Ga. 2021). "The loss of

employment, income or profits is categorized as special damages and is sufficient

injury upon which to predicate an action for libel where the defamatory words are

not libelous per se." Hood v. Dun & Bradstreet, Inc., 486 F.2d 25, 33 (5th Cir.

1973). 5 "Injury to one's business reputation is traditionally considered special

damage." Zedan, 522 F. Supp. 3d at 1372 (citing Floyd v. Atlanta Newspapers,

Inc., 102 Ga. App. 840, 843 (1960)).

      Here, Plaintiff adequately pleads special damages because he alleges that

Defendant's statements caused business and reputational harm, damaged his

credibility, resulted in permanent association of himself and his businesses with

ED, and caused online ridicule. Am. Comp!. ,r,r 37-38, 46-49, 67, 71. These are



5
  In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en bane),
the Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit issued before October 1, 1981.

                                          15
     Case 1:24-cv-05346-MHC      Document 12     Filed 03/31/25   Page 16 of 20




not vague allegations but identify specifically how Plaintiff experienced the loss of

business due to Defendant's statements. Compare Hood, 486 F.2d at 33 (quotation

omitted) ("The requirement of special damages is also satisfied where the plaintiff

can, under the circumstances, only know that the flow of his business as a whole is

diminished, and it would be impossible to point to any specific customers, or

orders which have been lost.") with Beckman v. Regina Caeli, Inc., No. 1:23-CV-

06000-SEG, 2024 WL 5162409, at *18 (N.D. Ga. Sept. 23, 2024) (holding that the

plaintiff did not allege special damages where they only alleged that they sought

nominal damages, general damages, economic damages, noneconomic damages,

reputational damages, and exemplary damages). Because Plaintiff sufficiently

alleges special damages in support of his defamation per quod claim, Defendant's

Motion to Dismiss is DENIED as to Count I.

      B.     Intentional Infliction of Emotional Distress (Count III)

      Defendant argues that Plaintiffs intentional infliction of emotional distress

claim should be dismissed because she "merely posted general information about

[ED]" and did not reference Plaintiff, and therefore her conduct is not outrageous

enough to support Plaintiffs claim. Def.'s Br. at 13-14. In response, Plaintiff

argues that Defendant's action went "beyond all possible bounds of decency" and




                                         16
     Case 1:24-cv-05346-MHC       Document 12     Filed 03/31/25    Page 17 of 20




"exploit[ed] the public's interest in salacious or personal details, ensuring

Plaintiff's anguish and reputational harm would be widespread." Pl.'s Opp'n at 11.

      A claim for intentional infliction of emotional distress requires the following

four elements: "(l) The conduct must be intentional or reckless; (2) The conduct

must be extreme and outrageous; (3) There must be a causal connection between

the wrongful conduct and the emotional distress; and (4) The emotional distress

must be severe." Cottrell, 299 Ga. at 521.

      It has not been enough that the defendant has acted with an intent which
      is tortious or even criminal, or that he has intended to inflict emotional
      distress, or even that his conduct has been characterized by malice, or
      a degree of aggravation which would entitle the plaintiff to punitive
      damages for another tort. Liability has been found only where the
      conduct has been extreme and outrageous. Extreme and outrageous
      conduct is that which is so outrageous in character, and so extreme in
      degree, as to go beyond all possible bounds of decency, and to be
      regarded as atrocious, and utterly intolerable in a civilized community.
      Whether actions rise to the level of extreme and outrageous conduct
      necessary to support a claim of intentional infliction of emotional
      distress is generally a question of law.

Abdul-Malik v. AirTran Airways, Inc., 297 Ga. App. 852, 855-56 (2009) (internal

citations and quotations omitted). "It is well settled that the tortious conduct must

have been directed at the plaintiff in order to be actionable under a theory of

intentional infliction of emotional distress." Reece v. Chestatee State Bank, 260

Ga. App. 136, 142 (2003).




                                          17
     Case 1:24-cv-05346-MHC       Document 12     Filed 03/31/25    Page 18 of 20




      Defendant's statements do not rise to the level of extreme and outrageous

conduct required to support an intentional infliction of emotional distress claim.

Plaintiff does not allege that Defendant's statements surpassed mere insults or

negative accusations, albeit ones that "would reach millions of people," Am.

Compl. ,r,r 65-66, and more is required to sufficiently allege extreme and

outrageous conduct. See Ashman v. Marshall's of MA, Inc., 244 Ga. App. 228,

229-30 (2000) ("Actionable conduct does not include insults, threats, indignities,

annoyances, petty oppressions, or other vicissitudes of daily living....

Although [Defendant's] statements were harsh, inappropriate, rude, vulgar, and

unkind, we are constrained to find that his conduct does not meet the threshold of

outrageousness and egregiousness necessary to sustain a claim for intentional

infliction of emotional distress. Mere tasteless, rude or insulting social conduct

will not give rise to such a claim."). Further, Plaintiffs claim is based on alleged

defamatory statements that Defendant made to other individuals, which is a

"classic example[] of conduct that, though harmful to the plaintiff, was directed

toward the hearer of the statements, not to the plaintiff, and thus is not actionable

as intentional infliction of emotional distress." Lively v. McDaniel, 240 Ga. App.

132, 134 (1999). Accordingly, Defendant's Motion to Dismiss is GRANTED as

to Count III.


                                          18
     Case 1:24-cv-05346-MHC       Document 12     Filed 03/31/25    Page 19 of 20




       C.    Invasion of Privacy-False Light (Count IV)

      Defendant argues that Plaintiff's invasion of privacy-false light claim

should be dismissed because "a false light claim must allege a nondefamatory

statement" and because Defendant's statements "do not depict Plaintiff as anything

or anyone" that he is not. Def.'s Br. at 15 (quoting Krass v. Obstacle Racing

Media, LLC, 667 F. Supp. 3d 1177, 1214 (N.D. Ga. 2023)). In response, Plaintiff

argues that a false light claim is viable regardless of whether the statements were

defamatory, and that Plaintiff's allegations satisfy the elements of a false light

claim. Pl.'s Opp'n at 13-15.

      Plaintiff's false light claim is not precluded by his defamation claim at the

motion to dismiss stage. Generally, to survive as a separate cause of action from

defamation, "a false light claim must allege a nondefamatory statement. If the

statements alleged are defamatory, the claim would be for defamation only, not

false light invasion of privacy." Bollea v. World Championship Wrestling, Inc.,

271 Ga. App. 555, 557 n.l (2005). However, at the motion to dismiss stage, a

plaintiff may plead inconsistent claims and is not precluded from pleading both a

claim for defamation and for false light. Andrews v. D'Souza, 696 F. Supp. 3d

1332, 1357 (N.D. Ga. 2023); see also FED. R. Crv. P. 8(d)(2), (3) (permitting a

pleader to set forth alternative or hypothetical claims, regardless of consistency).


                                          19
      Case 1:24-cv-05346-MHC      Document 12     Filed 03/31/25    Page 20 of 20




Plaintiffs false light claim also is not precluded because Defendant's statements

did not expressly reference him. As discussed above, Plaintiff sufficiently pleads

that Defendant's statements referred to him, and for a false light claim, "whether

[Plaintiff] was depicted is a factual dispute the Court cannot resolve at this

pleading stage." See id. Accordingly, Defendant's Motion to Dismiss is DENIED

as to Count IV.

IV.    CONCLUSION

       For the foregoing reasons, it is hereby ORDERED that Defendant Porsha

Williams' Motion to Dismiss Plaintiffs First Amended Complaint [Doc. 9] is

GRANTED IN PART and DENIED IN PART. The Motion is GRANTED with

respect to Plaintiffs claims for defamation per se (Count II) and intentional

infliction of emotional distress (Count III), which are DISMISSED. The Motion

is otherwise DENIED.

       IT IS SO ORDERED this       JJtJ::day of March, 2025.


                                                H.COHEN
                                        United States District Judge




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